     Case 2:10-cr-00347-DAD-JDP Document 265 Filed 05/20/13 Page 1 of 2


 1   Mark Waecker (SBN# 81375)
     LAW OFFICES OF MARK WAECKER
 2   300 South Grand Avenue, 24th Floor,
     Los Angeles, CA 90071
 3   Telephone (213) 955-4500
     Fax (213) 955-4560
 4   Email: mark@waeckerlaw.com
     Attorney for Defendant
 5   IMESH PERERA
 6
 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                      )      Case No. 2:10-cr-00347-MCE
10                                                  )
                    Plaintiff,                      )
11          vs.                                     )
                                                    )      STIPULATION AND ORDER TO
12                                                  )      CONTINUE STATUS CONFERENCE
     DISHAN PERERA, et al.
                                                    )
13                                                  )      Court: Hon. Morrison C. England
                    Defendant.                      )      Time: 9:00 a.m.
14                                                  )      Date: May 16, 2013
                                                    )
15
16          Defendant Imesh Perera, by and through their undersigned counsel and the United States

17   Government, by and through Assistant United States Attorney Todd Leras, hereby agree and

18   stipulate that the status conference previously scheduled for May 16, 2013 be continued until
19   June 27, 2013. The defendant is charged in a five count indictment alleging violations of 21
20
     U.S.C. §§s 841 (a) (1) and § 846 – possession with intent to distribute and conspiracy to
21
     distribute methamphetamine. The government has previously provided a Plea Agreement to the
22
     defendant. It includes a factual basis stretching over a period of more than one year and
23
24   involving numerous intercepted telephone conversations. The defense has requested the

25   government provide some additional information clarifying relevant aspects as to some of the

26   incidents mentioned in the factual basis. The government has recently provided this information
27
     and the defense needs additional time to review the materials. The parties therefore agree that
28
                                                    - 1-
     Case 2:10-cr-00347-DAD-JDP Document 265 Filed 05/20/13 Page 2 of 2


 1   additional time is needed to finalize the terms of the resolution. Therefore, the parties request a
 2   status conference date of June 27, 2013 and that date is available with the Court.
 3
            The parties agree that time should be excluded under 18 U.S.C. § 3161 (h) (8) (i) for
 4
     defense preparation and under local code T4.
 5
 6   Dated: May 13, 2013
 7
                                                   Respectfully submitted,
 8                                                 LAW OFFICES OF MARK WAECKER

 9                                                 _______/s/_Mark Waecker__________
                                                   Mark Waecker, Esq.
10                                                 Attorney for Defendant,
11                                                 IMESH PERERA

12   Dated: May 13, 2013

13                                                 _______/s/__Todd Leras____________
                                                   Todd Leras
14                                                 Assistant United States Attorney
15                                                 Attorney for Plaintiff
                                                   UNITED STATES OF AMERICA
16
17                                                ORDER
18
            IT IS SO ORDERED. The Court finds excludable time through June 27, 2013 based on
19
     Local Code T4, giving counsel reasonable time to prepare. The status conference in this matter is
20
     accordingly continued from May 16, 2013 to June 27, 2013 at 9:00 a.m. in Courtroom No. 7.
21
     The Court finds that the ends of justice served by granting this continuance outweigh the interest
22
23   of the defendant and the public to a speedy trial.

24   DATED: May 16, 2013
25

26                                           ___________________________________________
                                             MORRISON C. ENGLAND, JR., CHIEF JUDGE
27                                           UNITED STATES DISTRICT COURT
28
                                                      - 2-
